 1                                                  THE HONORABLE KYMBERLY K. EVANSON
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 6
                                UNITED STATES DISTRICT COURT
 7
                          FOR THE WESTERN DISTRICT OF WASHINGTON
 8
      LUIGI MARRUSO,
 9                                                        Case No.: 2:24-cv-01455-KKE
             Plaintiff,
10
                                                          DECLARATION IN SUPPORT OF
11                   v.                                   REQUEST FOR ENTRY OF
                                                          DEFAULT
12    ROBERT W. MONSTER, an individual,
13
      EPIK INC., a Washington corporation, and
      MASTERBUCKS LLC, a Wyoming
14    limited liability company,
15          Defendants.
16
     ________________________________________________________________

17                         DECLARATION IN SUPPORT OF PLAINTIFF’S
                              REQUEST FOR ENTRY OF DEFAULT
18

19   I, Nicholas Ranallo, declare and state as follows:

20          1.      This declaration is based upon my personal knowledge of the facts stated herein
21
     or on the business records that were made at the time or in the regular course of business. If
22
     called as a witness, I could and would testify to the statements made herein.
23
            2.      On September 22, 2024, Defendant Epik Inc. was served via personal service and
24

25   a Proof of Service was filed at ECF No. 6.

26          3.      Defendant Epik Inc. was required to answer or otherwise defend by Monday,
27
      RANALLO DECLARATION IN SUPPORT               Revision Legal,          Ranallo Law Office
28
      OF PLAINTIFF’S REQUEST FOR ENTRY             PLLC                     5058 57th Ave. S.
      OF DEFAULT                                   8051 Moorsbridge         Seattle, WA 98118
      CASE NO. 2:24-CV-01455 - 1                   Rd.                      (831) 607-9229
                                                   Portage, MI 49024
                                                   (269) 281-3908
     October 14, 2024.
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 2             4.     On September 22, 2024, Defendant Robert W. Monster was served via personal

 3   service and a Proof of Service was filed at ECF No. 7.
 4
               5.     Defendant Robert W. Monster was required to answer or otherwise defend by
 5
     Monday, October 14, 2024.
 6

 7
               6.     On September 23, 2024, Defendant Masterbucks LLC was served via personal

 8   service and a Proof of Service was filed at ECF No. 8.
 9             7.     Defendant Masterbucks LLC was required to answer or otherwise defend by
10
     Monday, October 14, 2024.
11
               8.     All Defendants have failed to answer or otherwise defend.
12

13             9.     Upon information and belief, the Defendants are not active-duty members of the

14   U.S. armed forced.
15
               10.    No Defendant has contacted my office in any manner whatsoever regarding this
16
     matter.
17
                 I declare under penalty of perjury under the laws of the United States of America that
18

19   the foregoing is true and correct.

20   Executed this 23rd day of October, 2024 in King County, Washington
21

22   /s/ Nicholas Ranallo____
     Nicholas Ranallo (WSBA 51439)
23   5058 57th Ave. S.
24
     Seattle, WA 98118
     nick@ranallolawoffice.com
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27
      RANALLO DECLARATION IN SUPPORT                 Revision Legal,          Ranallo Law Office
28
      OF PLAINTIFF’S REQUEST FOR ENTRY               PLLC                     5058 57th Ave. S.
      OF DEFAULT                                     8051 Moorsbridge         Seattle, WA 98118
      CASE NO. 2:24-CV-01455 - 2                     Rd.                      (831) 607-9229
                                                     Portage, MI 49024
                                                     (269) 281-3908
